955 F.2d 41
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.George W. GANTT, Plaintiff-Appellant,v.Patricia GOINS, Classification Counselor, MarylandPenitentiary, Defendant-Appellee.
    No. 91-6342.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 3, 1992.Decided Feb. 13, 1992.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore, No.  (CA-91-1009-JH), Joseph C. Howard, District Judge.
      George W. Gantt, appellant pro se.
      John Joseph Curran, Jr., Attorney General, Glenn William Bell, Office of the Attorney General of Maryland, Baltimore, M. for appellee.
      D.Md.
      AFFIRMED.
      Before WIDENER, HAMILTON and LUTTIG, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      George W. Gantt appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Gantt v. Goins, No. CA-91-1009-JH (D.Md. Oct. 22, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    